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                                                                                                              Revised July 2012
                   United States District Court for Western District of Tennessee
                     MOTION FOR LEAVE TO APPEAR PRO HAC VICE

Case Title
 Plaintiff
G.S., by and through his parents and next friends, BRITTANY and RYAN SCHWAIGERT, et al.
 Defendant
GOVERNOR BILL LEE, et al.
 Case Number                                                    Judge
2:21-cv-02552-SHL-atc                                          Sheryl H. Lipman

   Jeffrey Dubner
I, _______________________________________________________                                      hereby apply to the United
States District Court for the Western District of Tennessee, pursuant to Local Rule 83.4(d), for
permission to appear and participate in the above-entitled action on behalf of
__________________________________________________
 Tennessee Chapter of the American Academy of Pediatrics & American Academy of Pediatrics by whom I have been retained.



I am a member of good standing and eligible to practice before the following courts:
                                     Title of Court                                                Date Admitted

                                      New York                                                 October 17, 2011
                             District of Columbia                                                 April 1, 2013




I certify that I subject myself to the jurisdiction of the United States District Court for the
Western District of Tennessee and have obtained and have familiarized myself with and agree
to be bound by the Western District of Tennessee Local Rules, Tennessee Supreme Court Rule 8
(Rules of Professional Conduct) and the Guidelines of Professional Courtesy and Conduct.

Please find attached a certificate of good standing from the highest Court of a state or the
District of Columbia, and from a United States District Court.

A proposed order, in word processing format, granting this Motion will be emailed to the ECF
mailbox of the presiding judge.




    The pro hac vice admission fee is $150.00 that shall be paid to the Clerk of Court through
                   the Court’s Electronic Case Filing System ’s pay.gov feature.




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I hereby certify that the information provided below is true and accurate:
 Applicant’s Last Name            First Name                           Middle Name/Initial

Dubner                            Jeffrey
 Applicant’s Firm Name
                         Democracy Forward Foundation
 Applicant’s Address                                                     Room/Suite Number
 655 15th St. NW                                                               Suite 800

 City                                               State                         Zip Code
        Washington                                          DC                               20005
 Applicant’s Email Address
              jdubner@democracyforward.org
 Applicant’s Phone Number(s)
                               202-448-9090
                                  Certificate of Consultation


Counsel for all parties have confirmed that they do not object to this motion.




 Date                                               Electronic Signature of Applicant
         09/07/2021                                 S/ Jeffrey        Dubner




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             United States District & Bankruptcy Courts
                     for the District of Columbia
                                CLERK’S OFFICE
                            333 Constitution Avenue, NW
                                    Room 1225
                              Washington, DC 20001




      I, ANGELA D. CAESAR, Clerk of the United States District Court

      for the District of Columbia, do hereby certify that:

                          JEFFREY B. DUBNER

      was, on the
                    7th     day of
                                        August        A.D.
                                                              2017     admitted to

      practice as an Attorney at Law at the Bar of this Court, and is, according to

      the records of this Court, a member of said Bar in good standing.



      In Testimony Whereof, I hereunto subscribe my name and affix the seal of

      said Court in the City of Washington this
                                                    8th       day of
                                                                       September

      A.D.
             2021    .




                                     ANGELA D. CAESAR
                                         LA D  CAESAR, Clerk of Courts


                                  By:
                                                       Deputy Clerk
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    On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                     the District of Columbia Bar does hereby certify that



                  Jeffrey Benjamin Dubner
           was duly qualified and admitted on April 1, 2013 as an attorney and counselor entitled to
                     practice before this Court; and is, on the date indicated below, a(n)
                                ACTIVE member in good standing of this Bar.




                                                                              In Testimony Whereof,
                                                                          I have hereunto subscribed my
                                                                          name and affixed the seal of this
                                                                               Court at the City of
                                                                           Washington, D.C., on June 10,
                                                                                       2020.




                                                                                JULIO A. CASTILLO
                                                                                  Clerk of the Court




                                                                     Issued By:
                                                                              District of Columbia Bar Membership




  For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                      memberservices@dcbar.org.
